            Case 1:21-cr-00090-PLF Document 62 Filed 09/29/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :
                                              :              Case No. 21-cr-90 (PLF)
NATHANIEL DEGRAVE,                            :
                                              :
                       Defendant.             :

                      MOTION TO DISMISS WITHOUT PREJUDICE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves the Court to dismiss the above-captioned case without

prejudice, in light of the superseding indictment against the defendant returned in a separate case,

see Dkt. 46, 21-cr-88 (DLF), which had the effect of merging the defendant’s charges in this case

with that of defendant Ronald Sandlin, charged in the 21-cr-88 matter.

       WHEREFORE, the United States respectfully requests that this matter be dismissed

without prejudice.

                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney
                                              D.C. Bar No. 415793

                                      By:               /s/
                                              Jessica Arco
                                              Trial Attorney – Detailee
                                              D.C. Bar No. 1035204
                                              U.S. Attorney’s Office for the District of Columbia
                                              555 4th Street NW
                                              Washington, DC 20530
                                              Jessica.arco@usdoj.gov


September 29, 2021
